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1                                                      Judge John C. Coughenour
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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE
9    UNITED STATES OF AMERICA,                  )
                                             No. CR05-393JCC
                                             )
10                         Plaintiff,        )     ORDER CONTINUING
                                             )     TRIAL DATE AS TO
11              v.                           )     DEFENDANT GILL
                                             )
12   RUPINDER SINGH GILL,                    )
                                             )
13                         Defendant.        )
     ______________________________________ )
14

15           On December 1, 2005, the Court issued an Order Continuing Trial date in the
16   above-captioned case (Dkt. No. 70). Pursuant to 18 U.S.C. § 3161(h)(7) and United
17   States v. Daychild, 357 F.3d 1082, 1091–92 (9th Cir. 2004), the Court’s December 1,
18   2005 order applies to Defendant Rupinder Singh Gill because no motion to sever has
19   been filed by any party.
20           The Court also finds that the ends of justice served by ordering this continuance as
21   to Defendant Gill outweigh the interests of the public and the defendant in any speedier
22   trial, within the meaning of Title 18, United States Code,
23   Section 3161(h)(8)(A).
24   //
25   //
26   //
27   //
28   //

                                                                                  UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
     ORDER CONTINUING TRIAL/GILL — 1                                              Seattle, Washington 98101-1271
     CR05-393 JCC                                                                          (206) 553-7970
              Case 2:05-cr-00393-JCC         Document 73       Filed 12/07/05      Page 2 of 2



1            IT IS THEREFORE ORDERED that the trial for all defendants shall be continued
2    to April 17, 2006 for the reasons set forth in the Court’s December 1, 2005 order.
3            IT IS FURTHER ORDERED that the trial date be continued from December 12, 2005, to
4    April 17, 2006, and that the time between the former trial date and the new trial date be
5    excludable time under the Speedy Trial Act pursuant to 18 U.S.C. sections 3161(h)(8)(A).
6            It is FURTHER ORDERED that all pretrial motions shall be filed on or before
7    February 21, 2006.
8
             DATED this 7th day of December, 2005.



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                                                   UNITED STATES DISTRICT JUDGE
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     Presented by:
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16

17   s/ Jill Otake
18   JILL OTAKE
     Assistant United States Attorney
19   Washington Bar No. 28298
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     CR05-393 JCC                                                                                (206) 553-7970
